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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
ASHENAFI BERHE,                            )
            Plaintiff,                     )
                                           ) Civil Action No.
            v.                             ) 17-11525-DJC
                                           )
CHANNEL 7 NEWS BOSTON,                     )
ALL NEWS CHANNELS TV                       )
AND RADIO IN BOSTON AND                    )
OTHER WORLD                                )
            Defendants.                    )
__________________________________________)

                                    ORDER OF DISMISSAL

CASPER, J.                                                                     September 28, 2017
       The Court finds that the plaintiff is unable to pay the filing fee and ALLOWS the motion

to proceed in forma pauperis (D. 2). Because the plaintiff is proceeding in forma pauperis, this

Court must dismiss the complaint if the action is frivolous. 28 U.S.C. § 1915(e)(2)(B)(i). A

complaint is frivolous “if the facts alleged are clearly baseless, a category encompassing

allegations that are fanciful…[or]…fantastic” Miller v. Kennebec County Sheriff’s Dept., 54

F.3d 764 (1st Cir. 1995)(unpublished decision)(quotations omitted). “As those words suggest, a

finding of factual frivolousness is appropriate when the facts alleged rise to the level of the

irrational or the wholly incredible, whether or not there are judicially noticeable facts available to

contradict them.” Denton v. Hernandez, 504 U.S. 25, 33 (1992). While the Court does not doubt

the sincerity of plaintiff’s belief in his claims, the complaint and supplement, read generously,

nonetheless do not meet the screening requirements of 28 U.S.C. §1915(e)(2)(B)(i).

       Accordingly, this action is DISMISSED pursuant to 28 U.S.C. §1915(e)(2)(B)(i).

So Ordered.
                                                    /s/ Denise J. Casper _________
                                               UNITED STATES DISTRICT JUDGE
